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                                                                                                           ■ iLiiD
                                                                                                      (’
                                                                                        u.o              TRiCTCGURT
                         IN THE UNITED STATES DISTRICT COURT                                         AUG-USTA Dr‘/.
                         FOR THE SOUTHERN DISTRICT OF GEORGIA
                                           AUGUSTA DIVISION                                                             !
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UNITED STATES OF AMERICA
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           V.                                                          CR 112-129
                                                       'k


                                                       •k
TERRELL         R.   JOHNSON




                                                ORDER




           Defendant      Terrell          R.    Johnson          has    sent   a       letter                 to    the



undersigned            judge    that        will       be     construed         as      a            motion          for

w                                    //

    compassionate        release           under      18     U.S.C.       §   3582(c)(1)(A).                         The


Government opposes the motion.                          Upon due consideration, the Court

denies Johnson's request for relief.

           The compassionate release provision of § 3582(c) (1)(A) provides

a narrow path for a District Court to grant release to a defendant
      \\                                                                           t!
in         extraordinary       and        compelling         circumstances.                    Prior           to    the


passage of the First Step Act, only the Director of the BOP could

file a motion for compassionate release.                               The First Step Act modified

18    U.S.C. § 3582(c) (1) (A)                  to   allow    a    defendant to move                       a   federal


district         court for     compassionate                release,      but   only            after          he     has


fully exhausted all administrative rights to appeal a failure of the

Bureau of Prisons to bring a motion on the defendant's behalf or the

lapse of 30 days from the receipt of such a request by the warden of
                                                                                   /f
the    defendant's        facility,             whichever         is    earlier.          In          this          case.


Johnson has made no showing that he has exhausted his administrative
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remedies as required prior to seeking relief in the district court.

For this reason, the Court must deny Johnson's request.

        Moreover,            in        consideration               of      Johnson's          request       for

compassionate release, this Court may only reduce his sentence if it
                 \\                                                                  n
finds    that         extraordinary and compelling reasons                                warrant      such   a

                                                                    \\
reduction       and    that           such    reduction        is        consistent      with     applicable

policy     statements                 issued       by     the       [United     States]           Sentencing
                //
Commission.             18    U.S.C.          §   3582(c)(1) (A) .           Section          1B1.13   of   the


Sentencing       Guidelines              provides         the      applicable     policy          statement.

explaining that a sentence reduction may be ordered where a court

determines, upon consideration of the factors set forth in 18 U.S.C.
                        \\                                                                H

§ 3553(a), that              extraordinary and compelling reasons                              exist and the


defendant does not present a danger to the safety of any other person

or the community.              U.S.S.G. § IBl.13.                   The application notes to this

policy statement list three specific examples of extraordinary and

compelling reasons to consider reduction of a defendant's sentence

under § 3582(c)(1) (A): (1) a medical condition; (2) advanced age;

and (3) family circumstances. Id. n.l(A)-(C).                                    A       fourth    catch-all

                                  w

category provides:                    As determined by the Director of the Bureau of

Prisons, there exists in the defendant's case an extraordinary and

                                                                                                        n

compelling           reason           other       than,       or    in     combination          with.       the


aforementioned three categories.                              Id. n.l(D) (emphasis added).

        Johnson bears the burden of demonstrating that compassionate

release is warranted.                   Cf. United States v. Hamilton, 715 F.3d 328,

337 (11th cir. 2013) (in the context of a motion to reduce under §
                                                          2
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3582(c)(2)).         Here, he has not made any argument let alone showing

justifying his release other than a generalized concern about COVID-

19,    which    is    too   speculative    to    qualify      as     extraordinary       and

compelling.       As the Third Circuit explained:               [T]he mere existence

of COVID-19 in society and the possibility that it may spread to a

particular prison alone cannot independently justify compassionate

release,       especially    considering       BOP's       statutory    role,      and   its
                                                                                             n

extensive      professional     efforts    to    curtail       the    virus's      spread.

United     States      v.   Raia,   954   F.3d       594,     597    (3d    Cir.    2020).

Accordingly, Johnson has failed to show that he qualifies under any

category    of    extraordinary     and   compelling         circumstances,        and   his

motion must be denied for this reason as well.


       Upon the foregoing. Defendant Terrell R. Johnson's motion for

compassionate release (doc. 136) is DENIED.

       ORDER ENTERED at Augusta, Georgia, this                       day of July, 2020.




                                                j.   ra:        LL,/CHIEF JUDGE
                                                UNITED/STATES DISTRICT COURT
                                                             DISTRICT      OF GEORGIA




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